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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                 ALEXANDRIA DIVISION


        DEMARCUS D. FRIELS                            Case No.

                 Plaintiff

                   VS.                                   Judge

 WARREN, INC.                                  Magistrate Judge
 c/o Russell Warren, Registered Agent
 707 North Fir
 Collins, MS 39428

 WARREN EQUIPMENT, INC.
 c/o Russell Warren, Registered Agent
 2299 Highway 92 East
 Plant City, FL 33566

 WARREN TRUCK EQUIPMENT,
 INC.
 c/o Russell Warren, Registered Agent
 300 Planters Drive
 Columbia, SC 29209

 WARREN TRUCK & TRAILER, INC.
 c/o Russell Warren, Registered Agent
 2716 26th Street, North
 Birmingham, AL 35207

 WARREN TRUCK & TRAILER, LLC
 c/o Art Henderson, Registered Agent
 Highway 271, P.O. Box 425
 Talco, TX 75487

 WARREN EQUIPMENT, INC. OF
 FLORIDA
 c/o Incorp Services, Inc.
 3867 Plaza Towers Dr., 1st Floor
 Baton Rouge, LA 70816



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 DAIMLER TRUCK NORTH
 AMERICA LLC
 c/o CT Corporation System
 3867 Plaza Tower Dr.
 Baton Rouge, LA 70816

                Defendants

                                PLAINTIFF’S COMPLAINT

         COMES NOW DEMARCUS D. FRIELS, hereinafter “Plaintiff”, complaining of

Defendants    WARREN,      INC.,      WARREN        EQUIPMENT,     INC.,    WARREN        TRUCK

EQUIPMENT, INC., WARREN TRUCK & TRAILER, INC., WARREN TRUCK & TRAILER,

LLC, WARREN EQUIPMENT, INC. OF FLORIDA, and DAIMLER TRUCK NORTH

AMERICA LLC, hereinafter “Defendants”, and in support of his causes of action, respectfully

shows unto the Court the following:

                                        THE PARTIES

         1.   Plaintiff DeMarcus D. Friels is a citizen of the State of Louisiana and an individual

resident of Avoyelles Parish, Louisiana. Plaintiff resides at 674 Cocoville, Road, Mansura, LA

71350.

         2.   Defendant Warren, Inc. is a foreign corporation that does business in Louisiana.

Defendant Warren, Inc. may be served by serving its registered agent c/o Russell Warren,

Registered Agent, 707 North Fir, Collins, MS 39428.

         3.   Defendant Warren Equipment, Inc. is a foreign corporation that does business in

Louisiana. Defendant Warren Equipment, Inc. may be served by serving its registered agent c/o

Russell Warren, Registered Agent, 2299 Highway 92 East, Plant City, FL 33566.




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       4.      Defendant Warren Truck Equipment, Inc. is a foreign corporation that does

business in Louisiana. Defendant Warren Truck Equipment, Inc. may be served by serving its

registered agent c/o Russell Warren, Registered Agent, 300 Planters Drive, Columbia, SC 29209.

       5.      Defendant Warren Truck & Trailer, Inc. is a foreign corporation that does business

in Louisiana. Defendant Warren Truck & Trailer, Inc. may be served by serving its registered

agent c/o Russell Warren, Registered Agent, 2716 26th Street, North, Birmingham, AL 35207.

       6.      Defendant Warren Truck & Trailer, LLC is a foreign corporation that does business

in Louisiana. Defendant Warren Truck & Trailer, LLC may be served by serving its registered

agent c/o Art Henderson, Registered Agent, Highway 271, P.O. Box 425, Talco, TX 75487.

       7.      Defendant Warren Equipment, Inc. of Florida is a foreign corporation registered to

do business in Louisiana, and does business in Louisiana. Defendant Warren Equipment, Inc. of

Florida may be served by serving its registered agent c/o Incorp Services, Inc., 3867 Plaza Tower

Dr., 1st Floor, Baton Rouge, LA 70816.

       8.      Defendant Daimler Truck North America LLC is a foreign corporation registered

to do business in Louisiana, and does business in Louisiana. Defendant Daimler Truck North

America LLC may be served by serving its registered agent c/o CT Corporation System, 3867

Plaza Tower Dr., Baton Rouge, LA 70816.

                                JURISDICTION AND VENUE

       9.      This Court has diversity jurisdiction under 28 U.S.C. § 1332 as the amount in

controversy exceeds $75,000, exclusive of interest and costs and there is complete diversity

between Plaintiff and Defendants as each are residents of differing states.

       10.     This Court has specific personal and general jurisdiction over all Defendants.

Defendants have done business in Louisiana, sold the specific vehicle and dump body in this case



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and other products in Louisiana, and have committed negligent acts or omissions in Louisiana, as

is further alleged below.

        11.     Venue in this District is proper under 28 U.S.C. § 1391 because Defendants sell

products in this District, a substantial portion of the tortious conduct occurred in this District, and

the accident that gave rise to Plaintiff’s injuries occurred in this judicial District, and no other

district is proper as to all parties.

                                        FACTUAL BACKGROUND

        12.     On May 13, 2021 at approximately 3:50 pm, Plaintiff drove a 2015 Freightliner

truck (Vehicle Identification Number 1FVHG3DV1FHGL9429) (hereinafter the “Subject

Vehicle”) in Rapides Parish Louisiana on Highway 71 approximately 8/10’s of a mile away from

Louisiana Highway 3250. The truck had a dump body attached to the chassis.

        13.     The dump body of the Freightliner vehicle caught on the bridge overpass of

Interstate 49, causing the vehicle to leave the road and impact a concrete bridge pillar.

        14.     As a result of the collision, the Plaintiff suffered injuries as set forth below.

  COUNT I – VIOLATION OF THE LOUISIANA PRODUCTS LIABILITY ACT BY
  DEFENDANTS WARREN INC., WARREN EQUIPMENT, INC., WARREN TRUCK
   EQUIPMENT, INC., WARREN TRUCK & TRAILER, INC., WARREN TRUCK &
        TRAILER, LLC, AND WARREN EQUIPMENT, INC. OF FLORIDA

        15.     Plaintiff incorporates all previously pled paragraphs as if set forth herein.

        16.     Plaintiff brings his claims as a claimant under the Louisiana Products Liability Act,

La.Rev.Stat.Ann. § 9:2800.51 et seq, hereinafter “the Act.”

        17.     Defendants WARREN, INC., WARREN EQUIPMENT, INC., WARREN TRUCK

EQUIPMENT, INC., WARREN TRUCK & TRAILER, INC., WARREN TRUCK & TRAILER,

LLC, and WARREN EQUIPMENT, INC. OF FLORIDA, individually or jointly, are

manufacturers under the Act of all or portions of the Subject Vehicle, including but not limited to

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the dump body, and its related operational systems, safety systems, and warnings. The components

of the Subject Vehicle, and the Subject Vehicle are a product(s) under the Act.

       18.     Defendants WARREN, INC., WARREN EQUIPMENT, INC., WARREN TRUCK

EQUIPMENT, INC., WARREN TRUCK & TRAILER, INC., WARREN TRUCK & TRAILER,

LLC, and WARREN EQUIPMENT, INC. OF FLORIDA share common ownership, management,

employees, agents, control, facilities, design departments, operations, and funds. As a result, they

are a joint venture, joint manufacturer, and are the alter ego of each other at all relevant times from

2014 to the present. In the alternative, one or more of these Defendants manufactured the Subject

Vehicle, independently or jointly. Further, these entities are manufacturer(s) of the Subject

Vehicle with Defendant DAIMLER TRUCK NORTH AMERICA LLC.

       19.     Defendants WARREN, INC., WARREN EQUIPMENT, INC., WARREN TRUCK

EQUIPMENT, INC., WARREN TRUCK & TRAILER, INC., WARREN TRUCK & TRAILER,

LLC, and WARREN EQUIPMENT, INC. OF FLORIDA manufactured all or part of the Subject

Vehicle by producing, making, fabricating, constructing, designing, selling, remanufacturing,

reconditioning, or refurbishing all or portions of the Subject Vehicle.           These Defendants,

individually or jointly also labeled all or part of the Subject Vehicle as their own with the name

“Warren.” These Defendants held themselves out as the manufacturer(s) of the Subject Vehicle.

These Defendants further exercised control over and influenced a characteristic of the design,

construction, features, warnings and quality of the Subject Vehicle which caused or contributed to

cause damage to Plaintiff.

       20.     Plaintiff’s use of the Subject Vehicle was a reasonably anticipated, foreseeable and

intended use of the vehicle. Defendants have had knowledge for many years before manufacture

of the Subject Vehicle that operators of its vehicles with its dump beds operate vehicles with the



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dump beds both up and down, and that operators can be reasonably anticipated to operate these

vehicles with the bed in differing positions on the highway depending on speed of the vehicle and

the use of the vehicle. These Defendants should reasonably expect an ordinary person under the

same or similar circumstances to operate the Subject Vehicle with its defects in the manner it was.

       21.     These Defendants owed a duty to Plaintiff to manufacture a product without

unreasonably dangerous defects that would cause him injury, and all other duties under the Act.

       22.     At the time the Subject Vehicle left these Defendants’ control, the Subject Vehicle

was defective and unreasonably dangerous in its design, construction, manufacture, sale and

warnings, and post-sale warnings.

       23.     These Defendants knew or should have known of the design, manufacturing, and

warnings defects of the Subject Vehicle when it was sold, and at the time it left their control.

       24.     When balancing the risk and utility of the Subject Vehicle, these Defendants had

the ability, technologically, physically, economically, and practically, to eliminate, reduce or warn

of the dangers and defects of the Subject Vehicle. Alternative designs for prevention and warning

of these known dangers sufficient to have prevented damages to the Plaintiff have existed for years

prior to the manufacture of the Subject Vehicle including but not limited to transmission or engine

limits or governors that do not allow the vehicle to drive at highway speeds with the dump bed

raised, or lower the bed automatically, redundant warning light and audible systems, hard wired

dual sensor and dual wired systems with audible and visual warnings to alert the operator when

the dump bed is raised at road speeds or speeds over 10 miles per hour, and warnings that operators

can see and hear in real time during operation.

       25.     The likelihood that the Subject Vehicle’s design would cause Plaintiff’s damages

and the gravity of the Plaintiff’s damages outweigh the burden on these Defendants of using these



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alternative designs or other alternative designs, and such alternative designs will not adversely

affect the utility or practical use of the product.

        26.     These Defendants manufactured, designed, and sold the Subject Vehicle, or

relevant parts of the Subject Vehicle that caused harm to the Plaintiff. These unreasonably

dangerous defects include but are not limited to the following: failure to equip the Subject Vehicle

with a transmission or engine limits or governor to prevent the vehicle from leaving a low gear

with the dump bed raised to a level that may contact road obstacles; failure to equip the Subject

Vehicle with a transmission or engine limits or governor to prevent the vehicle from going over a

low speed of around 10 miles per hour with the dump bed raised to a level that may contact road

obstacles; and failure to equip the Subject Vehicle with a dump bed sensor and control to lower

the dump bed automatically when the vehicle achieves highway or road speeds; failure to place

any or adequate wiring, sensors, audible speakers and warning lights that are robust enough to

withstand foreseeable heavy use in the construction and hauling uses of the Subject Vehicle; and

failure to coordinate with Daimler listed in Count Two on who would, should or could, install

these systems in the Subject Vehicle.

        27.     These Defendants failed to use reasonable care to provide adequate warning of the

dangerous characteristics of the Subject Vehicle at the time the Subject Vehicle left their control.

These Defendants failed to provide a warning system to the operator to know when the dump bed

was raised or in the alternative failed to provide an adequate warning system to the operator to

know when the dump bed was raised. Defendants failed to provide adequate audio and visual

warning for operators, and failed to use a redundant sensor, wiring and warning system to insure,

despite known and foreseeable extreme use, wear and tear, and foreseeable damage to said systems

that require dual systems to properly warn operators. Further, a visual only system is inadequate



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as designed by these Defendants and fails to adequately warn operators of the dump beds positions.

These Defendants failed to coordinate with Daimler listed in Count Two on who would, should or

could, provide these systems and warnings in the Subject Vehicle.

       28.     An adequate warning would have led an ordinary and reasonable operator to

understand and contemplate the danger in real time to avoid it. Plaintiff would have avoided this

collision if such a warning system(s) were in place.

       29.     These Defendants, after the Subject Vehicle left their control, acquired knowledge

or continued to know of the characteristics of the Subject Vehicle that may cause damages to

Plaintiff and others for the actions and omissions set forth above. These Defendants failed to act

as a reasonably prudent manufacturer and are liable for the damage caused by their failure to use

reasonable care to provide an adequate warning of such characteristics and dangers to the operators

of the product after the Subject Vehicle left their control, violating their post-sale duty to

adequately warn operators of these known defects and dangers. Defendants could have easily

warned the purchaser of the Subject Vehicle of the need for warnings, adequate warnings, or

available after-market warning systems.

       30.     These Defendants’ actions and omissions set forth in this Count caused or

contributed to cause in fact the Plaintiff’s damages as set forth below and were the real, producing

and proximate cause of his injuries and damages.

       31.     As a direct, producing and proximate result of the actions and omissions of the

Defendants as set forth above, said elements of damage, in sum, total an amount in excess of

$75,000 (exclusive of interest and costs), for which Plaintiff seeks to recover from Defendants

including compensation for the following:

       a.      Past and future medical expenses;



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       b.      Past and future physical pain and suffering;

       c.      Permanent nature of the injury, including but not limited to permanent paralysis,

               confinement to bed or a wheelchair, and the resulting medical conditions related

               thereto;

       d.      Disfigurement;

       e.      Past and future loss of enjoyment of life due to paraplegia and the resulting medical

               conditions therefrom;

       f.      Loss of past and future wages, benefits and compensation, and loss of past and

               future earning capacity due to Plaintiff’s permanent and total disability; and

       g.      All other damages allowed by law, including but not limited to pre and post

               judgment interest at the maximum rate allowed by law.

  COUNT II – VIOLATION OF THE LOUISIANA PRODUCTS LIABILITY ACT BY
           DEFENDANT DAIMLER TRUCK NORTH AMERICA LLC

       32.     Plaintiff incorporates all previously pled paragraphs as if set forth herein.

       33.     Plaintiff brings his claims as a claimant under the Louisiana Products Liability Act,

La.Rev.Stat.Ann. § 9:2800.51 et seq, hereinafter “the Act.”

       34.     Defendant DAIMLER TRUCK NORTH AMERICA LLC, individually or jointly

with the Warren entities listed above, is a manufacturer under the Act of all or portions of the

Subject Vehicle, including but not limited to the dump body, and its related operational systems,

safety systems, and warnings. The components of the Subject Vehicle, and the Subject Vehicle

are a product(s) under the Act.

       35.     Defendant DAIMLER TRUCK NORTH AMERICA LLC manufactured all or part

of the Subject Vehicle by producing, making, fabricating, constructing, designing, selling,

remanufacturing, reconditioning, or refurbishing all or portions of the Subject Vehicle. This

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 Defendant, individually or jointly, also labeled all or part of the Subject Vehicle as their own with

 the name. This Defendant held themselves out as the manufacturer of the Subject Vehicle. This

 Defendant further exercised control over and influenced a characteristic of the design,

 construction, features, warnings, and quality of the Subject Vehicle which caused or contributed

 to cause damage to Plaintiff.

        36.     Plaintiff’s use of the Subject Vehicle was a reasonably anticipated, foreseeable and

 intended use of the vehicle, Defendant has had knowledge for many years before manufacture of

 the Subject Vehicle that operators of its vehicles with its dump beds operate vehicles with the

 dump beds both up and down, and that operators can be reasonably anticipated to operate these

 vehicles with the bed in differing positions on the highway depending on speed of the vehicle and

 the use of the vehicle. This Defendant should reasonably expect an ordinary person under the

 same or similar circumstances to operate the Subject Vehicle with its defects in the manner it was.

        37.     This Defendant owed a duty to Plaintiff to manufacture a product without

 unreasonably dangerous defects that would cause him injury, and all other duties under the Act.

        38.     At the time the Subject Vehicle left this Defendant’s control, the Subject Vehicle

 was defective and unreasonably dangerous in its design, construction, manufacture, sale, warnings

 and post-sale warnings.

        39.     This Defendant knew or should have known of the design, manufacturing, and

 warning defects of the Subject Vehicle when it was sold, and at the time it left its control.

        40.     When balancing the risk and utility of the Subject Vehicle, this Defendant had the

 ability, technologically, physically, economically, and practically, to eliminate, reduce or warn of

 the dangers and defects of the Subject Vehicle. Alternative designs for prevention and warning of

 these known dangers sufficient to have prevented damages to the Plaintiff have existed for years



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 prior to the manufacture of the Subject Vehicle including but not limited to transmission or engine

 limits or governors that do not allow the vehicle to drive at highway speeds with the dump bed

 raised, or lower the bed automatically, redundant warning light and audible systems, hard wired

 dual sensor and dual wired systems with audible and visual warnings to alert the operator when

 the dump bed is raised at road speeds or speeds over 10 miles per hour, and warnings that operators

 can see and hear in real time.

         41.     The likelihood that the Subject Vehicle’s design would cause Plaintiff’s damages

 and the gravity of the Plaintiff’s damages outweigh the burden on this Defendant of using these

 alternative designs or other alternative designs, and such alternative designs will not adversely

 affect the utility or practical use of the product.

         42.     This Defendant manufactured, designed, and sold the Subject Vehicle, or relevant

 parts of the Subject Vehicle that caused harm to the Plaintiff. These unreasonably dangerous

 defects include but are not limited to the following: failure to equip the Subject Vehicle with a

 transmission or engine limits or governor to prevent the vehicle from leaving a low gear with the

 dump bed raised to a level that may contact road obstacles; failure to equip the Subject Vehicle

 with a transmission or engine limits or governor to prevent the vehicle from going over a low speed

 of around 10 miles per hour with the dump bed raised to a level that may contact road obstacles;

 failure to equip the Subject Vehicle with a dump bed sensor and control to lower the dump bed

 automatically when the vehicle achieves highway or road speeds; failure to place any or adequate

 wiring, sensors, audible speakers and warning lights that are robust enough to withstand

 foreseeable heavy use in the construction and hauling uses of the Subject Vehicle, and failure to

 coordinate with the Warren entities listed in Count One on who would, should or could, install

 these systems in the Subject Vehicle.



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        43.     This Defendant failed to use reasonable care to provide adequate warning of the

 dangerous characteristics of the Subject Vehicle at the time the Subject Vehicle left their control.

 This Defendant failed to provide a warning system to the operator to know when the dump bed

 was raised or in the alternative failed to provide an adequate warning system to the operator to

 know when the dump bed was raised. Defendant failed to provide adequate audio and visual

 warning for operators, and failed to use a redundant sensor, wiring and warning system to insure,

 despite known and foreseeable extreme use, wear and tear, and foreseeable damage to said systems

 that require dual systems to properly warn operators. Further, a visual only system is inadequate

 as designed by this Defendant and fails to adequately warn operators of the dump beds positions.

 This Defendant failed to coordinate with the Warren entities listed in Count One on who would,

 should or could provide these systems and warnings in the Subject Vehicle.

        44.     An adequate warning would have led an ordinary and reasonable operator to

 understand and contemplate the danger in real time to avoid it. Plaintiff would have avoided this

 collision if such a warning system(s) were in place.

        45.     This Defendant, after the Subject Vehicle left its control, acquired knowledge or

 continued to know of the characteristics of the Subject Vehicle that may cause damages to Plaintiff

 and others for the actions and omissions set forth above. This Defendant failed to act as a

 reasonably prudent manufacturer and is liable for the damage caused by their failure to use

 reasonable care to provide an adequate warning of such characteristics and dangers to the operators

 of the product after the Subject Vehicle left their control, violating its post-sale duty to adequately

 warn operators of these known defects and dangers.




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         46.     This Defendant’s actions and omissions set forth in this Count caused or

 contributed to cause in fact the Plaintiff’s damages as set forth below and were the proximate cause

 of his injuries and damages.

         47.     As a direct, producing and proximate result of the actions and omissions of the

 Defendant as set forth above, said elements of damage, in sum, total an amount in excess of

 $75,000 (exclusive of interest and costs), for which Plaintiff seeks to recover from Defendant

 including compensation for the following:

         a.      Past and future medical expenses;

         b.      Past and future physical pain and suffering;

         c.      Permanent nature of the injury, including but not limited to permanent paralysis,

                 confinement to bed or a wheelchair, and the resulting medical conditions related

                 thereto;

         d.      Disfigurement;

         e.      Past and future loss of enjoyment of life due to paraplegia and the resulting medical

                 conditions therefrom;

         f.      Loss of past and future wages, benefits and compensation, and loss of past and

                 future earning capacity due to Plaintiff’s permanent and total disability; and

         g.      All other damages allowed by law, including but not limited to pre and post

                 judgment interest at the maximum rate allowed by law.

                                          JURY DEMAND

         48.     Pursuant to Federal Rule of Civil Procedure 38, Plaintiff demands a trial by jury

 on all issues so triable.




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                                             PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that all Defendants herein

 be duly cited in terms of law to appear and answer herein, or voluntarily appear and answer herein,

 and that upon final hearing of this matter that Plaintiff has a judgment against Defendants for the

 full amount of actual damages with pre- and post-judgment interest thereon at the maximum legal

 rate, for costs of court in this behalf expended, and for such other and further relief, special and

 general, at law and in equity, to which Plaintiff may show himself to be justly entitled.


 Dated: April 26, 2022


                                                       Respectfully submitted,

                                                       THE POTTS LAW FIRM, LLP
                                                       By: /s/ Charles K. Cicero, III
                                                       Charles K. Cicero, III LA#38237
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                                                       ccicero@potts-law.com
                                                       ATTORNEYS FOR PLAINTIFF




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